                                            Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 1 of 11




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8        UNITED STATES OF AMERICA,                      Case No. 5:18-cr-00258-EJD-1
                                                         Plaintiff,                        ORDER DENYING MOTION FOR
                                   9
                                                                                           RELEASE PENDING APPEAL
                                                  v.
                                  10

                                  11        ELIZABETH A. HOLMES,                           Re: Dkt. Nos. 1676, 1722
                                                         Defendant.
                                  12
Northern District of California
 United States District Court




                                  13            Following a three-month trial, the jury found Defendant Elizabeth A. Holmes guilty of

                                  14   three counts of wire fraud against Theranos investors, as well as one count of conspiracy to

                                  15   commit wire fraud. The Court subsequently sentenced Ms. Holmes to 135 months of

                                  16   imprisonment with a surrender date of April 27, 2023. Now before the Court is Ms. Holmes’s

                                  17   Motion for Release Pending Appeal (“Motion”), which has been fully briefed and heard. ECF

                                  18   Nos. 1676, 1721, 1740. Additionally, Ms. Holmes has moved to strike certain portions of the

                                  19   government’s opposition to her Motion. ECF No. 1722.

                                  20            Having considered the record, the submitted briefing, and oral arguments, the Court

                                  21   DENIES Ms. Holmes’s Motion for Release Pending Appeal.

                                  22   I.       PROCEDURAL BACKGROUND
                                  23            On January 3, 2022, a jury convicted Elizabeth A. Holmes on one count of conspiracy to

                                  24   commit wire fraud, 18 U.S.C. § 1349, and three counts of wire fraud, 18 U.S.C. § 1343, against

                                  25   Theranos investors. On November 18, 2022, the Court sentenced Ms. Holmes to 135 months of

                                  26   imprisonment to be served concurrently, followed by 3 years of supervised release to be served

                                  27   concurrently. The Court also set a self-surrender date for Ms. Holmes at 2:00 p.m. on April 27,

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                        1
                                           Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 2 of 11




                                   1   2023. Ms. Holmes filed her Notice of Appeal on December 2, 2022, and this Motion followed

                                   2   shortly thereafter on December 5, 2023.

                                   3           On January 19, 2023, the government filed its opposition to Ms. Holmes’ Motion. ECF

                                   4   No. 1721. Ms. Holmes claims that the opposition contains factual misrepresentations and

                                   5   confidential information, and she has filed a motion to strike or seal those portions. ECF No.

                                   6   1722. On March 17, 2023, the Court heard oral arguments on Ms. Holmes’s Motion.

                                   7   II.     LEGAL STANDARD
                                   8           Per 18 U.S.C. § 3143(b), a defendant who has been found guilty and sentenced to a term of

                                   9   imprisonment must be detained, even if an appeal has been filed. However, a court may allow the

                                  10   defendant to be released pending appeal if it makes the following four findings:

                                  11           1. The defendant has demonstrated by clear and convincing evidence that he is
                                                  not likely to flee or pose a danger to the safety of any other person in the
                                  12              community if released;
Northern District of California
 United States District Court




                                  13           2. The appeal is not for purpose of delay;
                                  14           3. The appeal raises a substantial question of law or fact; and
                                  15           4. If that substantial question is determined favorably to defendant on appeal,
                                                  that decision is likely to result in reversal or an order for a new trial of all
                                  16              counts on which imprisonment has been imposed.
                                  17
                                       United States v. Handy, 761 F.2d 1279, 1283 (9th Cir. 1985). On a motion for release pending
                                  18
                                       appeal, the burden of proof shifts from the government to the defendant to demonstrate entitlement
                                  19
                                       to release. Id.
                                  20
                                       III.    DISCUSSION
                                  21
                                               A.        Flight Risk and Danger to Community1
                                  22
                                               As to the first element, the Court considers whether Ms. Holmes has presented clear and
                                  23
                                       convincing evidence that she is not likely to flee or pose a danger to the safety of the community.
                                  24
                                       The Court will first note that it does not consider Ms. Holmes to be a danger to the community if
                                  25
                                       released. Ms. Holmes was convicted of non-violent—though nonetheless serious—crimes that
                                  26

                                  27   1
                                        The government does not argue, nor does the Court find, that the appeal is brought for delay.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                                     2
                                           Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 3 of 11




                                   1   primarily had the impact they did by virtue of her influence and position at Theranos. Today, Ms.

                                   2   Holmes is in no position to inflict similar harms of fraud on the community, and the Court is

                                   3   unaware of any evidence that she is likely to commit acts of deception or fraud in her everyday

                                   4   life. Cf. U.S.A. v. Wallace, 2016 WL 9137630, at *2 (C.D. Cal. Jan. 19, 2016) (finding no “risk of

                                   5   committing the same type of fraud” where defendant “is not in the ambulance transportation

                                   6   business anymore”). The government’s recitation of the same events giving rise to Ms. Holmes’s

                                   7   investor and patient fraud convictions provides limited insight into the risk she poses today to the

                                   8   community, removed from the artifices that enabled her criminal activity.

                                   9           With respect to flight risk, although it is a closer determination, the Court also finds that

                                  10   Ms. Holmes has demonstrated that she is not likely to flee if released. Ms. Holmes has presented

                                  11   evidence that she has made no attempt to flee, the Court retains custody of her expired passport,

                                  12   her appearance is secured by a $500,000 bond on her parents’ home, and she has strong ties to the
Northern District of California
 United States District Court




                                  13   community, including two very young children. Mot. 2; Reply 1–3. Furthermore, Ms. Holmes

                                  14   does not have any family or assets abroad, Reply 2–3, and the significant media attention this case

                                  15   has drawn further reduces the likelihood that Ms. Holmes could flee without being quickly

                                  16   recognized. The government argues, however, that Ms. Holmes cannot satisfy this burden because

                                  17   her partner booked an international one-way flight for them that was scheduled to depart a few

                                  18   weeks after the jury had rendered the verdict.2 Opp. 5–6. Booking international travel plans for a

                                  19   criminal defendant in anticipation of a complete defense victory is a bold move, and the failure to

                                  20   promptly cancel those plans after a guilty verdict is a perilously careless oversight. Certainly, this

                                  21   incident has invited greater scrutiny of Ms. Holmes’s personal affairs and further speculation into

                                  22   her motivations. However, after reviewing the counsels’ contemporary communications and

                                  23   immediate subsequent remediation, the Court accepts Ms. Holmes’s representation that the one-

                                  24   way flight ticket—while ill-advised—was not an attempt to flee the country.

                                  25           Accordingly, the Court finds that Ms. Holmes has demonstrated by clear and convincing

                                  26

                                  27
                                       2
                                        For the reasons indicated on the record, the Court DENIES Ms. Holmes’ Motion to Strike and to
                                       Seal portions of the government’s opposition. ECF No. 1722.
                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                                        3
                                         Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 4 of 11




                                   1   evidence that she is not likely to flee or pose a danger to the safety of any other person in the

                                   2   community if released.

                                   3           B.      “Substantial Question” and “Likelihood of Reversal”

                                   4           Even though Ms. Holmes had presented clear and convincing evidence that she would not

                                   5   flee, the Court does not find that she has raised a “substantial question of law or fact” that is

                                   6   “likely to result in reversal or an order for a new trial of all counts.” Handy, 761 F.2d at 1283.

                                   7           The “substantial question” requirement defines the level of merit required of the question

                                   8   presented. Handy, 761 F.2d at 1280. The Ninth Circuit has held that a “substantial question” is

                                   9   one that may be “fairly debatable” or “fairly doubtful.” Id. at 1283. It must present “something

                                  10   more than the absence of frivolity” or issues “debatable among jurists of reason.” Id. at 1281–82

                                  11   (citing Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983)). The question, however, need not be a

                                  12   “close” one. Handy, 761 F.2d at 1282 n.2.
Northern District of California
 United States District Court




                                  13           On the other hand, the “likelihood of reversal or new trial” requirement defines the “type of

                                  14   question that must be presented” for appeal. Handy, 761 F.2d at 1281 (emphasis added). The

                                  15   analysis, therefore, “does not involve assessing the likelihood that a reversal will occur in the

                                  16   particular case.” United States v. Garcia, 340 F.3d 1013, 1020 n.5 (9th Cir. 2003). Rather, the

                                  17   Court must find the question presented to be “so integral to the merits of the conviction on which

                                  18   defendant is to be imprisoned that a contrary appellate holding is likely to require reversal of the

                                  19   conviction or a new trial.” United States v. Miller, 753 F.2d 19, 23 (3d Cir. 1985). Put differently,

                                  20   the question cannot be one that would be considered harmless, would have no prejudicial effect, or

                                  21   was insufficiently preserved. Id.

                                  22           In other words, Ms. Holmes must present the correct type of question that has met the

                                  23   necessary level of merit. For the several questions Ms. Holmes has raised in her Motion, the Court

                                  24   will first review them to determine if they are the correct type (i.e., likely to result in reversal on

                                  25   all counts of conviction) before considering if they arise to the requisite level of merit (i.e., fairly

                                  26   debatable).

                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                        4
                                         Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 5 of 11




                                   1                  1.      Evidentiary Questions Relating to the Accuracy and Reliability of

                                   2                          Theranos Technology

                                   3          Ms. Holmes has identified several of the Court’s evidentiary rulings for appeal that

                                   4   primarily relate to the issue of whether Theranos technology was accurate and reliable. These

                                   5   “accuracy and reliability” evidentiary decisions include (1) the purportedly improper admissions

                                   6   of Dr. Kingshuk Das’s testimony as improper lay testimony, Mot. 4–5; (2) the admission of CMS

                                   7   findings and sanctions, Mot. 5; (3) the admission of evidence that Theranos voided Edison test

                                   8   results in 2016, Mot. 6; and (4) rulings relating to the LIS database, Mot. 7. These disputes do not

                                   9   directly pertain to the conduct for which Ms. Holmes was convicted (i.e., the investor fraud

                                  10   counts), but she argues that they would nonetheless result in a reversal of all her convictions

                                  11   because they touch upon the “central issue in the case” of accuracy and reliability. Mot. 5.

                                  12          Each one of the questions cited above involved Ms. Holmes’s disagreement with the
Northern District of California
 United States District Court




                                  13   Court’s evidentiary rulings. On appeal, even if the Ninth Circuit were to agree that these

                                  14   evidentiary rulings were erroneous, “reversal is required only if the error affected a substantial

                                  15   right of the party, meaning [the Ninth Circuit] require[s] a finding of prejudice.” United States v.

                                  16   Wells, 879 F.3d 900, 923 (9th Cir. 2018) (internal quotation marks and brackets omitted).

                                  17   Although non-constitutional evidentiary errors begin with a presumption of prejudice, that

                                  18   presumption can be rebutted if it is more probable than not that the jury would have reached the

                                  19   same verdict if the evidence had been excluded. Id. at 923–24 (quoting Jules Jordan Video, Inc. v.

                                  20   144942 Canada Inc., 617 F.3d 1146, 1159 (9th Cir. 2010)).

                                  21          To the extent Ms. Holmes challenges rulings on evidence that only relate to the accuracy

                                  22   and reliability of Theranos’s technology, the Court finds that a contrary appellate decision is not

                                  23   likely to require reversal or new trials on all investor fraud convictions and the conspiracy

                                  24   conviction. Contrary to her suggestion that accuracy and reliability were central issues to her

                                  25   convictions, Ms. Holmes’s misrepresentations to Theranos investors involved more than just

                                  26   whether Theranos technology “work[ed] as promised.” Reply 4. To begin, the TSI had alleged

                                  27   that—in addition to misrepresenting the capabilities of Theranos’s technology, TSI ¶ 12(A)—Ms.

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                        5
                                         Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 6 of 11




                                   1   Holmes had also made several misrepresentations that do not turn on whether the technology

                                   2   worked or not, such as those regarding the company’s financial status, reliance on third-party and

                                   3   commercially available devices, partnership with Walgreens, and validation by pharmaceutical

                                   4   companies. TSI ¶¶ 12(B)–(D), (H). The jury also heard evidence that multiple investors had

                                   5   expressed shock upon learning that Theranos was using third-party machines instead of its own

                                   6   proprietary devices to conduct blood tests as they were led to believe, which is a misrepresentation

                                   7   unaffected by, for example, the exclusion of the CMS findings or purported expert testimony from

                                   8   Dr. Das. See Opp. 12 (citing trial transcripts). And in reviewing the overall sufficiency of the

                                   9   evidence for Ms. Holmes’s Rule 29 motion for acquittal, the Court cited evidence that Ms. Holmes

                                  10   had misrepresented Theranos’s reliance on third-party devices and its expanding partnership with

                                  11   Walgreens, neither of which involved the question of whether Theranos devices worked as

                                  12   promised. ECF No. 1575, at 4–5. Whether the jury heard more or less evidence that tended to
Northern District of California
 United States District Court




                                  13   show the accuracy and reliability of Theranos technology does not diminish the evidence the jury

                                  14   heard of other misrepresentations Ms. Holmes had made to investors.

                                  15          In sum, even if the Ninth Circuit were to agree with Ms. Holmes that the Court had erred

                                  16   on these evidentiary rulings, the mere fact that a purported error touched upon the accuracy or

                                  17   reliability of Theranos technology is not likely to support a finding that the jury’s verdict was

                                  18   materially affected, especially where the government had presented evidence of other

                                  19   misrepresentations unrelated to Theranos’s accuracy and reliability. Of course, this is not to say

                                  20   that the capabilities of Theranos technology were not relevant to Ms. Holmes’s misrepresentations

                                  21   to investors. However, in light of the breadth of misrepresentations at issue, the Court cannot

                                  22   conclude that there is any one category of misrepresentations “so integral to the merits” that any

                                  23   potential error at all would be likely to result in reversal or new trial of all of Ms. Holmes’s

                                  24   convictions. Miller, 753 F.2d at 23. Accordingly, the Court finds that these four questions

                                  25   presented by Ms. Holmes are not the “type of question that must be presented” for appeal, Handy,

                                  26   761 F.2d at 1281, and therefore, does not proceed to consider whether they have reached the

                                  27   requisite level of merit to justify release pending appeal under § 1343(b).

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                        6
                                         Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 7 of 11




                                   1                  2.      Exclusion of Balwani SEC Deposition Testimony

                                   2          Ms. Holmes also argues that the Court erred by excluding as hearsay Mr. Balwani’s prior

                                   3   SEC deposition testimony that he had primary responsibility for the financial model and

                                   4   projections shown to certain investors. She asserts that these prior statements fall under the

                                   5   hearsay exception for statements against interest. As with other evidentiary errors, reversal is only

                                   6   required if the error was more likely than not to affect the verdict. United States v. Edwards, 235

                                   7   F.3d 1173, 1178 (9th Cir. 2000).

                                   8          Unlike Ms. Holmes’s other evidentiary challenges that solely relate to the accuracy and

                                   9   reliability of Theranos technology, Mr. Balwani’s prior SEC testimony may be more pertinent to

                                  10   Ms. Holmes’s investor fraud convictions. However, like Ms. Holmes’s other evidentiary

                                  11   challenges, the investors received more than just financial projections. As examples, investors

                                  12   testified that they were induced to invest in Theranos based on misrepresentations that Theranos
Northern District of California
 United States District Court




                                  13   was “vertically integrated” and making their own analyzers instead of relying on third party

                                  14   devices, as well as misrepresentations regarding Theranos’s relationships (or lack thereof) with

                                  15   pharmaceutical companies. See Opp. 12. Given the whole host of investor misrepresentations

                                  16   substantiated by the government’s evidence, the issue of whether Ms. Holmes or Mr. Balwani was

                                  17   involved with preparing financial models is not likely to result in reversal or a new trial.

                                  18          Although Ms. Holmes also claims that the exclusion rose to the level of a due process

                                  19   violation, Mot. 8, she has not demonstrated the primacy of this evidence. An evidentiary error

                                  20   only violates a defendant’s due process rights when it excludes: “(1) the main piece of evidence,

                                  21   (2) for the defendant’s main defense, to (3) a critical element of the government’s case.” United

                                  22   States v. Haischer, 780 F.3d 1277, 1284 (9th Cir. 2015) (quoting United States v. Evans, 728 F.3d

                                  23   953, 967 (9th Cir. 2013)). As discussed above, whether Ms. Holmes was involved in the financial

                                  24   modeling presented to select investors was not a necessary element of the government’s case,

                                  25   given the other misrepresentations she had made to investors. See supra Section III(B)(1).

                                  26          The Court does not find that the admission of Balwani’s prior deposition testimony would

                                  27   have affected the jury’s verdict, because it would not disturb evidence of Ms. Holmes’s clear

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                        7
                                         Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 8 of 11




                                   1   involvement in other misrepresentations made to investors. Accordingly, even if the Ninth Circuit

                                   2   finds error in this ruling, it is unlikely that it would result in a reversal or new trial on all of Ms.

                                   3   Holmes’s convicted counts.

                                   4                   3.      Limits on Dr. Rosendorff’s Cross-Examination
                                   5           Ms. Holmes also claims that permitting cross examination of Dr. Rosendorff’s post-

                                   6   Theranos employment would have resulted in reversal of all counts because the evidence would

                                   7   have demonstrated the bias in Dr. Rosendorff’s testimony. Mot. 9–10; Reply 10–11. Because Ms.

                                   8   Holmes asserts that this error violated her rights under the Confrontation Clause, the Court must

                                   9   consider whether an error arose to the level of a constitutional violation by considering whether

                                  10   the evidence was “(1) the main piece of evidence, (2) for the defendant’s main defense, to (3) a

                                  11   critical element of the government’s case.” Haischer, 780 F.3d at 1284.

                                  12           Ms. Holmes’s reliance on Dr. Rosendorff’s testimony is misplaced. Although the
Northern District of California
 United States District Court




                                  13   government does rely significantly on Dr. Rosendorff’s testimony in its closing arguments, the

                                  14   line of cross examination at issue here only pertains to Dr. Rosendorff’s bias and competence as a

                                  15   lab director. Mot. 9; Reply 10–11. Testimony and evidence pertaining to Theranos’s lab

                                  16   conditions, however, are substantially attenuated from Ms. Holmes’s varied misrepresentations to

                                  17   Theranos investors, e.g., regarding the companies’ external relationships with pharmaceutical

                                  18   companies or Walgreens. See supra Section III(B)(1). In other words, it cannot be said that the

                                  19   conditions of Theranos’s lab or Dr. Rosendorff’s specific recollections were “critical element[s] of

                                  20   the government’s case” on fraud to Theranos investors. Haischer, 780 F.3d at 1284. Any

                                  21   question relating to Dr. Rosendorff’s bias, therefore, would not be the type likely to result in

                                  22   reversal or new trial on all convicted counts, especially where Dr. Rosendorff was subjected to

                                  23   extensive cross-examination over multiple days.

                                  24           Furthermore, even if this question would be likely to result in reversal or a new trial on all

                                  25   convictions, the Court does not find that it is a “fairly debatable” substantial question. “[A]

                                  26   district court has discretion to limit cumulative cross-examination into a witness’s motivations for

                                  27   testifying or potential bias, but it cannot prohibit a defendant from probing a witness’s credibility

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                        8
                                         Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 9 of 11




                                   1   or motives altogether.” United States v. Wilmore, 381 F.3d 868, 872 (9th Cir. 2004). Here, Ms.

                                   2   Holmes has fully availed herself of the right to confront Dr. Rosendorff, who was cross examined

                                   3   over four days of trial. And even with respect to Dr. Rosendorff’s post-Theranos employment, the

                                   4   Court afforded Ms. Holmes a limited opportunity to inquire into a CMS investigation at one lab

                                   5   where Dr. Rosendorff worked after he had left Theranos. 10/05/21 Trial Tr. 2718:13–2720:25.

                                   6   On these facts, there is no substantial question that Ms. Holmes received her constitutional

                                   7   opportunity to effectively cross-examine Dr. Rosendorff, even with respect to certain aspects of

                                   8   his bias. Accordingly, the Court finds that Ms. Holmes has not raised a substantial question with

                                   9   regards to the limits the Court imposed on Dr. Rosendorff’s cross-examination.

                                  10                  4.     Admission of Department of Defense Misrepresentations
                                  11          Ms. Holmes also submits the Court erred by admitting evidence of misrepresentations that

                                  12   Theranos provided to the military, arguing that such evidence constituted inadmissible character
Northern District of California
 United States District Court




                                  13   evidence under Federal Rule of Evidence 404(b). Mot. 11–12.

                                  14          As the Court has already highlighted, Ms. Holmes’s convictions for investor fraud

                                  15   involved many different misrepresentations made to investors, regarding Theranos’s testing

                                  16   capabilities, validation by pharmaceutical companies, Theranos’s relationship with Walgreens, and

                                  17   the company’s financial projections. See ECF No. 1575, at 4–5. The representations regarding

                                  18   the Department of Defense, therefore, constitute only one facet of the larger prism of

                                  19   misrepresentations made to investors. See, e.g., United States v. Rossby, 81 F. App’x 109, 111

                                  20   (9th Cir. 2003) (citing United States v. Hernandez-Miranda, 601 F.2d 1104, 1109 (9th Cir. 1979)

                                  21   (holding that error in admitting 404(b) evidence was harmless where the government had “a

                                  22   strong, if not overwhelming, case against” defendant)). Furthermore, in its closing arguments, the

                                  23   government took efforts to avoid a propensity inference from the Department of Defense

                                  24   misrepresentations, expressly clarifying that Ms. Holmes was not being charged with defrauding

                                  25   the Department of Defense nor that the Department was a victim the jury would be asked about.

                                  26   12/16/21 Hr’g Tr. 8919:13–17 (“The government has not charged Ms. Holmes with defrauding . . .

                                  27   the Department of Defense.”); 8921:22–24 (“You’re not going to be asked to, in your verdict

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                        9
                                        Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 10 of 11




                                   1   form, decide if . . . the Department of Defense [is a] victim[].”). Considered alongside all other

                                   2   misrepresentations Ms. Holmes made to investors, the Court cannot find that—had Ms. Holmes’s

                                   3   misrepresentations to the Department of Defense been suppressed—the jury’s verdict would have

                                   4   been any different. This supposed character evidence would not warrant reversal of any count,

                                   5   much less all counts.

                                   6                  5.       Denial of Motions for New Trial
                                   7          Finally, Ms. Holmes argues that the Court had erred in denying all three of her motions for

                                   8   new trial based on newly discovered evidence. Mot. 10-13; ECF No. 1636.

                                   9          Even assuming that errors in denying Ms. Holmes’s new trial motions would be the type of

                                  10   issue on appeal that would result in a new trial, the Court does not find that Ms. Holmes has raised

                                  11   a fairly debatable or substantial question. To start, the Court’s denials of Ms. Holmes’s new trial

                                  12   motions were based on multiple grounds, any of which would have supported denial of the
Northern District of California
 United States District Court




                                  13   respective motion. Ms. Holmes’s current Motion, however, takes issue with only some remarks

                                  14   and points the Court relied on in its order but does not respond to all bases for the Court’s denials.

                                  15   For instance, with respect to a new trial based on Dr. Rosendorff’s post-trial conduct, Ms. Holmes

                                  16   does not respond to the Court’s conclusion that Dr. Rosendorff’s statements were “too vague and

                                  17   general to imply that any specific testimony [presented by the government] was actually false or

                                  18   misleading” under Napue v. Illinois, 360 U.S. 264 (1959). ECF No. 1636, at 7. Nor does she

                                  19   address why the government’s belief as to the relationship between Ms. Holmes and Mr. Balwani

                                  20   would be likely to result in acquittal, when the government has no personal knowledge of their

                                  21   relationship and Ms. Holmes herself has admitted to having control over decisions at Theranos.

                                  22   ECF No. 1636, at 10. And finally, contrary to Ms. Holmes’s insistence otherwise, the revelation

                                  23   that specific prosecutors had received emails discussing LIS database preservation does not rise to

                                  24   the level of prejudice that could have changed the result of the trial. ECF No. 1636, at 14. The

                                  25   Court cannot conclude that reasonable jurists would fairly debate these remaining issues when Ms.

                                  26   Holmes’s Motion does not address all bases for the Court’s denials.

                                  27          Accordingly, because Ms. Holmes’s Motion largely re-emphasizes points she had made in

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                        10
                                        Case 5:18-cr-00258-EJD Document 1757 Filed 04/10/23 Page 11 of 11




                                   1   her motions for new trial and does not address all independent bases for the Court’s denials, the

                                   2   Court cannot find that there is a “fairly debatable” question as to whether the Court erred in

                                   3   denying Ms. Holmes’s motions for new trial based on newly discovered evidence.

                                   4   IV.    CONCLUSION
                                   5          Although the Court finds that Ms. Holmes is not a flight risk or a danger to the safety of

                                   6   the community, it is unable to find that she has raised a “substantial question of law or fact” that if

                                   7   “determined favorably to [her] on appeal, [would be] likely to result in reversal or an order for a

                                   8   new trial of all counts on which imprisonment has been imposed.” Handy, 761 F.2d at 1283; 18

                                   9   U.S.C. § 3143(b).

                                  10          Based on the foregoing, Ms. Holmes’s Motion for Release Pending Appeal is DENIED.

                                  11          IT IS SO ORDERED.

                                  12   Dated: April 10, 2023
Northern District of California
 United States District Court




                                  13

                                  14
                                                                                                     EDWARD J. DAVILA
                                  15                                                                 United States District Judge
                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28   Case No.: 5:18-cr-00258-EJD-1
                                       ORDER DENYING RELEASE PENDING APPEAL
                                                                        11
